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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                    Case No. 3:19-cr-89/TKW

STEPHANNIE N. MACNEW
_____________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, STEPHANNIE N. MACNEW, to Counts ONE and FIVE of the

superseding indictment is hereby ACCEPTED. All parties shall appear before this

Court for sentencing as directed.

      DONE and ORDERED this 4th day of December, 2019.

                                    T. Kent Wetherell, II
                                T. KENT WETHERELL, II
                                UNITED STATES DISTRICT JUDGE
